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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

ARTHUR G. RUNYAN,                                           -
                                                            -      CASE NO: 2:11-cv-03083
        Plaintiff,                                          -
                                                            -      NOTICE OF
        v.                                                  -      VOLUNTARY DISMISSAL
                                                            -
NCO FINANCIAL SYSTEMS, INC.,                                -
                                                            -
        Defendant.                                          -

                           NOTICE OF VOLUNTARY DISMISSAL

     ARTHUR G. RUNYAN (Plaintiff), by his attorneys, KROHN & MOSS, LTD., and pursuant

to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, with prejudice, NCO FINANCIAL SYSTEMS, INC. (Defendant), in

this case.

                Both sides to bear their own costs and expenses.


                                      RESPECTFULLY SUBMITTED,
                                      By: /s/ Michael Siddons, Esq.
                                              Attorney for Plaintiff
                                              Michael Siddons
                                              10474 Santa Monica Blvd Suite 401
                                              Los Angeles, CA 90025




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